Case 2:04-cr-20173-SH|\/| Documeht 58 Filed 06/01/05 Page 1 of 6 PagelD 69

UN|TED STATES DlSTR|CT COURT d
WESTERN DlSTR|CT OF TENNESSEE !t:.r\t_; ry

lVlENIPHlS DlVlSlON 1 `1.C
as az 1 tit

uNiTED sTATEs oF AMEnicA 9-` 12
-v- 04-20173-01-Ma 11?`§5"'?`§;_:§'1;-__§>; til;s'i"‘i§r
.t 1 l t\'{ lr..,¢f_:j‘.,’{'§$;..":q

JERRY SlNlS

Nlar Catherine Jermann FPD
Defense Attorney

200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

 

REV|SED* JUDG|V|ENT |N A CRllV||NAL CASE
(For Oftenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the indictment on August 25, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Titte & Section MLE_OLQM§ Offense Numbertsl
§Mi_e_d
18 U.S.C. § 922(g) Fe|on in possession of a firearm 07/12/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Flestitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attomey for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 08/08/1953 January 26, 2005
Deft’s U.S. Nlarshal No.: 19612-076

Defendant's Ftesidence Address:
865 Baltimore
Memphis, TN 38114

j////"“L,_

SAN|UEL H. |V|AYS, JR.
UN|TED STATES D|STF'l|CT JUDGE

ay_§‘__

 

Nl , 2005

This document entered on the docket sheet in compliance
W.m eula ss anu/ore2(bj Fnch on ' ’ 1"'

Case 2:04-cr-20173-SH|\/| Document 58 Filed 06/01/05 Page 2 of 6 PagelD 70

Case No: 04-20173-01-Ma
Defendant Name: Jerry Sims Page 2 015

lNIPR|SON|V|ENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of twenty-four (24) months.

The Court recommends to the Bureau of Prisons:

*That defendant be designated to serve his term of imprisonment at a Federal
medical facility.

That defendant participate in the 500 hour drug rehabilitation program if eligible
That defendant receive sixty-eight (68) days credit for time already served.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Nlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgmentl
UN|TED STATES MARSHAL
By:

Deputy U.S. l\/larsha|

Case 2:04-cr-20173-SHl\/l Document 58 Filed 06/01/05 Page 3 of 6 PagelD 71

Case No: 04-20173-01-Ma
Defendant Name: Jerry Sims Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

VVhile on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shaft refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances, except as prescribed by a physician, and shai| submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally scld, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:04-cr-20173-SHl\/l Document 58 Filed 06/01/05 Page 4 of 6 PagelD 72

Case No: 04-20173-01-Ma
Defendant Name: Jerry Sims Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

14. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing forthe detection of substance use or abuse Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

15. The defendant shall participate as directed in a program of mental health treatment,
including domestic violence classes, as approved bythe Probation Officer. Further, the
defendant shall be required to contribute to the costs of services for such treatment not to
exceed an amount determined reasonable by the Probation Officer based on ability to pay
or availability of third party payment and in conformance with the Probation Office’s Sliding
Scale for Nlental Heaith Treatment Services.

16. The defendant shall not consume any alcoholic beverages

17. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

Case 2:04-cr-20173-SHl\/l Document 58 Filed 06/01/05 Page 5 of 6 PagelD 73

Case No: 04-20173-01-N|a
Defendant Name: Jerry Sims Page 5 of 5

CR||VI|NAL IV|ONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Fiestitution
$100.00

The Special Assessment shall be due immediately.

FINE

No fine imposed.

REST|TUT|ON

No Fiestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:04-CR-20173 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

